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              IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION

                      Case No. 8:22-cv-1981-TPB-JSS

STATE OF FLORIDA, et al.,

Plaintiffs,

v.

FOOD AND DRUG ADMINISTRATION, et al.,
Defendants.

                      Case No. 8:23-cv-877-TPB-TGW

STATE OF FLORIDA, et al.,

Plaintiffs,

v.

FOOD AND DRUG ADMINISTRATION, et al.,
Defendants.


              ORDER SETTING FOIA PRODUCTION AND
                   VAUGHN INDEX DEADLINES

      On October 24, 2023, the Court heard arguments on Plaintiffs’ motions

to set final FOIA production and Vaughn index deadlines, see ECF No. 86 in

8:22-cv-1981; ECF No. 25 in 8:23-cv-877, and Defendants’ oppositions to those

motions, see ECF No. 90 in 8:22-cv-1981; ECF No. 30 in 8:23-cv-877.

      For the reasons stated on the record during that hearing, the Court

imposes the following schedule:
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         • Within five years after the date on which this Order is entered on

            the docket, Defendants will complete all productions in response

            to Plaintiffs’ July 2022, March 2023, and May 2023 FOIA requests.

         • Within 90 days after the date on which this Order is entered on

            the docket, Defendants will serve Plaintiffs with a Vaughn index

            for the productions dated March 27, 2023; May 4, 2023; May 23,

            2023; June 28, 2023; and July 26, 2023.

         • Within 120 days after the date on which this Order is entered on

            the docket, Defendants will serve Plaintiffs with a Vaughn index

            for the productions dated August 28, 2023; September 28, 2023;

            and October 30, 2023.

         • For all productions made after October 30, 2023, Defendants will

            serve Plaintiffs with a Vaughn index for that production within

            120 days after the production.

      To expedite resolution, the Court will entertain motions for partial

summary judgment on redactions and withholdings. For the productions made

through October 30, 2023, any such motion is due 180 days after the date on

which this Order is entered on the docket.




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      The parties may revisit and jointly submit proposed changes to the above

production schedule based on any changed circumstances in the case that bear

on the schedule.

      SO ORDERED this 16th day of November 2023.




                                          TOM BARBER
                                          UNITED STATES DISTRICT JUDGE




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